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 1                            IN THE UNITED STATES DISTRICT COURT

 2                          FOR THE EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA                                 Case No. 07-CR-165 LKK
 4

 5            v.                                              ORDER GRANTING CONTINUANCE

 6
     DARIUS LOUIS
 7

 8

 9

10                                                   ORDER

11          Based on the stipulation of the parties and good cause appearing therefrom, the Court

12   hereby adopts the stipulation of the parties to continue the trial confirmation date from January

13   26, 2010 at 9:15 a.m. to February 2, 2010 at 9:15 a.m., in its entirety as its order.

14          IT IS SO ORDERED.

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16   Dated: December 23, 2009

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28                                U.S. v. DARIUS LOUIS: Order Granting Continuance
